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 5

 6
                        UNITED STATES DISTRICT COURT
 7                     EASTERN DISTRICT OF WASHINGTON

 8    JOSE ALFREDO RIVERA-RUIZ, on              NO.
      behalf of himself and a class of
 9    all others similarly situated,           DECLARATION OF
                                               CHRISTIAN CERVANTES
10                            Plaintiff,

11        v.

12    DOUGLAS COUNTY; GORDON EDGAR,
      Prosecuting Attorney for Douglas
      County, in his official and
13
      individual capacities; U.S.
      DEPARTMENT OF HOMELAND SECURITY;
14
      KEVIN MCALEENAN, in his official
      capacity as Acting Secretary of
15
      the Department of Homeland
      Security, and the UNITED STATES
16
      OF AMERICA,
17             Defendants.
18
          I, Christian Cervantes, declare under penalty of perjury:
19
          1.   I am a paralegal at ESPADA CRIMINAL DEFENSE, P.S, the
20
     law firm representing Mr. Rivera-Ruiz in the case of the State
21
     of Washington v.     Jose Rivera,        Douglas County Superior Court
22
     case number 19-1-00014-09, and the above-captioned case.
23


     DECLARATION OF CHRISTIAN
     CERVANTES - 1
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